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 4

 5   Attorneys for Yeny Fernandez Reyes

 6

 7                                 IN THE UNITED STATES DISTRICT COURT
 8                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                           OAKLAND DIVISION
10

11    UNITED STATES OF AMERICA,                            Case No.: 20-CR-250-YGR
                                                                     22-CR-178-YGR
12                    Plaintiff,

13            v.                                           JOINT STATUS REPORT AND
                                                           REQUEST TO VACATE OR CONTINUE
14    YENY LIZETH FERNANDEZ-REYES,                         SENTENCING HEARING; [PROPOSED]
15                    Defendant.                           ORDER

16                                                         Court:               Courtroom 1, 4th Floor
                                                           Hearing Date:        December 8, 2022
17                                                         Hearing Time:        2:00 p.m.
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     JOINT STATUS REPORT AND REQUEST TO VACATE OR CONTINUE SENTENCING HEARING
     United States v. Fernandez, 20-CR-250-YGR AND 22-CR-178-YGR
             Case 4:22-cr-00178-YGR Document 198 Filed 12/07/22 Page 2 of 3



 1          On July 28, 2022, Ms. Yeny Lizeth Fernandez-Reyes pled guilty to one count of Conspiracy to
 2 Distribute and Possess with Intent to Distribute 40 Grams or More of Fentanyl in violation of 21

 3 U.S.C. §§ 846, 841(a)(1) and (b)(1)(B)(vi) in 22-CR-178-YGR. Dkt. 190. The parties hereby submit a

 4 joint status report and request that the sentencing hearing in 22-CR-178-YGR, which is scheduled for

 5 Thursday, December 8, 2022, be vacated and rescheduled for March 23, 2023, for the reasons outlined

 6 below.

 7          Ms. Fernandez-Reyes is also charged in this district in case number 20-CR-250-YGR. On
 8 August 11, 2022, 20-CR-250 was related to the instant case, 22-CR-178, and both cases were assigned

 9 to this Court. Dkt. 193. Ms. Fernandez-Reyes has already been interviewed by the U.S. Probation

10 Office for preparation of her pre-sentence report in 22-CR-178. However, since the cases have now

11 been related, it is the parties request that Ms. Fernandez-Reyes appear for sentencing before this Court

12 once both of her cases have resolved. The parties are still working toward a disposition in case number

13 20-CR-250 but anticipate that they will be able to reach a resolution in the next few weeks. The parties

14 thus request that the sentencing hearing in 22-CR-178-YGR, which is scheduled for December 8,

15 2022, be vacated and reset for March 23, 2023, in anticipation that this date will go forward as the

16 consolidated sentencing hearing in both cases.

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     JOINT STATUS REPORT AND REQUEST TO VACATE OR CONTINUE SENTENCING HEARING
     United States v. Fernandez, 20-CR-250-YGR AND 22-CR-178-YGR
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             Case 4:22-cr-00178-YGR Document 198 Filed 12/07/22 Page 3 of 3



 1
         Dated:     December 7, 2022                         Respectfully submitted,
 2

 3                                                           MOEEL LAH FAKHOURY LLP

 4
                                                             /s/ Shaffy Moeel
 5
                                                             Attorneys for Ms. Fernandez Reyes
 6

 7                                                           STEPHANIE M. HINDS
 8                                                           UNITED STATES ATTORNEY

 9                                                           /s/ Alexis James
                                                             /s/ Benjamin K. Kleinman
10                                                           Assistant United States Attorneys

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13                                           [PROPOSED] ORDER
14
           Accordingly, and for good cause shown, THE COURT ORDERS THAT:
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           Ms. Fernandez-Reyes’s sentencing hearing on December 8, 2022, in case number 22-CR-178-
16
     YGR be vacated and reset for March 23, 2023.
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18         IT IS SO ORDERED.

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20   DATED:                                              _________________________________
                                                         HON. YVONNE GONZALEZ ROGERS
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                                                         UNITED STATES DISTRICT JUDGE
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     JOINT STATUS REPORT AND REQUEST TO VACATE OR CONTINUE SENTENCING HEARING
     United States v. Fernandez, 20-CR-250-YGR AND 22-CR-178-YGR
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